10/21/2020    Case: 1:22-cv-03861 Document      #: 11-22
                                   Yahoo Mail - Fwd:       Filed: Closing
                                                     MA`AT Program 11/14/22    Page Fee
                                                                          and EMAGES 1 of  1 PageID #:449
                                                                                        Discussion




     Fwd: MA`AT Program Closing and EMAGES Fee Discussion

     From: Dr. Fred Nance Jr. (drfred.nancejr@gmail.com)

     To:     frednance@clickservices.org

     Date: Wednesday, October 21, 2020, 02:23 PM CDT




     ---------- Forwarded message ---------
     From: Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>
     Date: Sat, Sep 26, 2020 at 9:53 AM
     Subject: MA`AT Program Closing and EMAGES Fee Discussion
     To: Jamie Enge <jamiee425@gmail.com>, Valerie Minor <vminor2018@gmail.com>, Earlene Beard
     <earlene416@gmail.com>, Alicia Perry <pebsluvsgod@yahoo.com>, Serita Robinson <srobin21@csu.edu>, Chad Ellis
     <seragi73@yahoo.com>
     Cc: Daniel Jean <daniel_jean716@yahoo.com>, Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>


     Good morning. When discussing the closing of the MA`AT program, please do not talk about fees owed for the sex
     offender program at EMAGES. When this discussion was brought up in the Saturday group, I had to step in and explain
     to the guys the closing of the MA`AT program has nothing to do with the fees owed for the sex offender program. Fees
     owed for the EMAGES sex offender program should be discussed in the sex offender group to keep confusion down.
     The participants are looking for more information about the closing of the MA`AT program and we cannot give them
     programmatic answers. If there are any further questions about this email, please do not hesitate to contact me. Thank
     you.

     P.S. The participants report they loved having the discussions in the MA`AT program. They applauded Alicia and Serita
     for their service.

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     /s/Dr. Fred Nance Jr., Ph.D.
     Human Services/Social Policy Analysis
     Program and Policy Development
     708-921-1395


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     /s/Dr. Fred Nance Jr., Ph.D.
     Human Services/Social Policy Analysis
     Program and Policy Development
     708-921-1395




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